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                                                  November 18, 2019

        VIA ECF
        Honorable Joel Schneider
        United States Magistrate Judge
        U.S. District Court - District of New Jersey
        Mitchell S. Cohen Building & US Courthouse
        1 John F. Gerry Plaza, Courtroom 3C
        4th and Cooper Streets
        Camden, New Jersey 08101

                   Re:        IN RE: VALSARTAN N-NITROSODIMETHYLAMINE (NDMA) PRODUCTS
                              LIABILITY LITIGATION
                              Civil No. 19-2875 (RBK/JS)

        Dear Judge Schneider:

                   Plaintiffs respectfully submit this letter brief in response to Defendants’ letter Regarding

        “Macro” Discovery Issues (“Defs. Macro Ltr.”) (D.E. 287).

           I.      PRELIMINARY STATEMENT

                   Defendants continue to stake out positions demonstrating that their ultimate goal is to

        obstruct legitimate requests and grind discovery to a slow crawl, inexplicably continuing to hide

        behind invalid objections. This phase echoes the core discovery phase, where Defendants took

        positions designed to deny or delay legitimate discovery. However, the mantra then – that

        Plaintiffs would obtain the broader categories of information in response to a detailed request for
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 documents – has been replaced by a request to cut off necessary discovery at this phase as well.

 This Court assured Plaintiffs that the broad discovery needed to establish this case would be

 compelled if needed, and that time has now come.

        Defendants argue that Plaintiffs’ requests are “unbounded” and “far-reaching” while

 simultaneously stonewalling Plaintiffs during meet-and-confers by not providing concrete

 positions on what parts of Plaintiffs’ requests are objectionable and why, and which documents

 Defendants find unobjectionable and which documents Defendants will agree to produce as

 required by Rule 34. For example, Defendants criticize Plaintiffs for requesting generalized

 “risk assessment” and “evaluation” documents but fail to grapple with their disclaimers of any

 knowledge on meet-and-confers as to the types (and company-specific names) of documents

 their clients keep and maintain in these general areas. 1 Defendants’ failure to provide concrete

 information about which documents Defendants are willing to produce, and on what timeline,

 hamstrings this process and leaves Plaintiffs with little room to explore logical compromises.

        Defendants’ mischaracterizations permeate their entire brief.        In another example,

 Defendants portray Plaintiffs as seeking “all” foreign regulatory documents, which is obviously

 not accurate, and then take the position that Plaintiffs are entitled to “none” of the foreign

 regulatory documents. Plaintiffs have requested foreign regulatory documents related to the


 1
   In a meet-and-confer regarding Requests for the Production of Documents (“RFPDs”) related
 to the heart of this litigation – manufacturing – Defendants incredibly asked Plaintiffs to provide
 Defendants with a list of internal company documents identified in core discovery which
 Plaintiffs believed should be expeditiously produced. Defendants stated they needed this
 information to assist them in understanding how their own client maintains documents in the
 ordinary course of business. Nevertheless, Plaintiffs acquiesced and provided Defendants with a
 7-page letter delineating hundreds of examples found referenced in Establishment Inspection
 Reports (“EIRs”). Plaintiffs cannot do more to assist with this process than they already have.
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 valsartan contamination, including those addressing testing data, inspections of facilities,

 correspondence with the foreign regulatory agencies regarding the recall (and associated testing),

 and submissions regarding the API manufacturing process (and the changes made therein).

 Moreover, Plaintiffs have not requested “all” foreign sales and marketing documents, only those

 regarding the communications and customer complaints related to the sale of valsartan API to

 other finished dose customers, and the pricing data associated with those API sales. Similarly,

 Plaintiffs have not requested “all” documents regarding finished dose manufacturing, and in an

 effort to resolve objections, Plaintiffs have asked Defendants to commit to produce a smaller

 subset of documents related to cGMP compliance, quality assurance functions, and

 bioequivalence studies but that effort at compromise remains unrequited.

        Defendants are apparently determined to limit compromise, and instead advocate for

 substantial or complete invalidation of the discovery requests pursuant to baseless objections.

 Again, the strategy is clear and should be rejected at this significant juncture.       Plaintiffs’

 discovery requests should be responded to, especially as narrowed by Plaintiffs.

  II.   LEGAL STANDARD

        Despite all of Defendants’ exhortations, nothing about the 2015 amendment to Rule 26

 has created a fundamentally different framework for assessing the propriety of discovery in this

 case. See N. Shore-Long Island Jewish Health Sys. v. Multiplan, Inc., 325 F.R.D. 36, 47-48

 (E.D.N.Y. 2018) (“Rule 26(b)(1), as amended . . . constitutes a reemphasis on the importance of

 proportionality in discovery but not a substantive change in the law.’”) (citations and alterations

 omitted) (emphasis added).
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        Defendants’ stonewall of discovery is not justified by the Rules. Indeed, Rule 26(b)(1)’s

 proportionality mandate considers, among other thing, “the parties’ relative access to relevant

 information, the parties’ resources, the importance of the discovery in resolving the issues, and

 whether the burden or expense of the proposed discovery outweighs its likely benefit.” F.R.C.P.

 Rule 26(b)(1). These factors clearly favor Plaintiffs’ position here. Defendants have control of

 all the critical information and documents, and Plaintiffs need these items in order to understand

 and build this case. The obstruction is multiplied in effect here, where much of the actionable

 conduct occurred overseas in China and India. Given the relative access of the parties to the

 witnesses, facts, and documents, Plaintiffs’ requests, especially as narrowed below, are the

 efficient, proportionate, inexpensive and, thus, appropriate option.

 III.   PERTINENT BACKGROUND

        First, the factual context as understood at present, has been twisted by Defendants.

 Defendants are not merely innocent bystanders, victims of circumstance who could have never

 known or contemplated that nitrosamine would form as a result of the cost-cutting manufacturing

 choices they made with respect to their “life-saving” drugs. Based on the information available at

 present, it appears that the unknown and unidentified so-called “ghost peaks” in testing

 representing unidentified artifacts in the API began appearing in the valsartan chromatography at

 ZHP’s Chuannan API manufacturing facility at least as early as 2008.                Ex. 1 (2018

 Establishment Inspection Report (“2018 ZHP EIR”)) (obtained by Plaintiffs pursuant to a FOIA

 request). Despite early knowledge of these highly suspicious unknown peaks, 2 ZHP failed to


 2
   When finally confronted by the FDA in 2018 regarding ZHP’s processes and procedures in
 place to identify unknown peaks in valsartan testing, Yinhua Tang, the Assistant Director of the
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 take the necessary steps to identify the cause of these concerning test results, and continued to

 make material modifications to its process, with the intended goal of “significant” cost

 reductions to allow them to “dominate the world market share.” Id. at 25. In 2011, when ZHP

 completed the lab scale inquiry into its last cost-saving manufacturing process change, ZHP’s

 “formal risk assessment” inquiry into whether this change might result in unintended chemical

 reactions or impurities consisted of one form document, comprised of check boxes, wherein

 departments could simply check “yes” or “no” regarding the process change. Id. at 23. The

 change in 2011 resulted in an onslaught of noticeable and documented quality issues, many of

 which went uninvestigated. Indeed, between 2016 to 2018, 22 batches of API were rejected

 and/or returned by customers because they failed to meet specifications and/or were presenting

 with aberrant testing. Id. at 8. Between January 22, 2016 to June 29, 2017 alone, there were 17

 Out-of-Specification (“OOS”) investigations regarding one particular batch of valsartan API. Id.

 at 29. These investigations were never adequately or successfully resolved. Id. This batch, it

 would later turn out, had been contaminated the entire time. Id. When confronted with these

 rejected, refused, and/or OOS batches, instead of conducting a root cause analysis, ZHP

 apparently re-processed the raw material 3 and sold it to other customers. Id. at 27-28.

        At Mylan’s valsartan finished dose facility in Morgantown, West Virginia, the FDA

 inspectors could not help but notice the full shredding bins located in the Quality Control

 division, the Quality Assurance division, the Environmental Health and Safety Division, and the



 Quality Control at ZHP informed the inspector that there was no written procedure beyond
 reporting it to a team leader. Ex. 1, (2018 ZHP EIR) at 17.
 3
   ZHP would later admit to regulators that it was not possible to remove the impurity by
 reprocessing returned Valsartan API. Ex. 1, at 20.
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 Packaging and Manufacturing Divisions. Ex. 2 (2016 Form 483 for Morgantown Facility (“2016

 Mylan Morgantown 483”)) at 6. The original laboratory documents set to be shredded in these

 multiple bins were so voluminous that the FDA inspectors could not review them all. Id. Were

 that not troubling enough, FDA inspectors also noticed that the parameters of valsartan test

 samples had been altered after a test had already occurred. Id. The situation was no better at

 Mylan’s Nashik, India Facility (another facility where Mylan manufactured valsartan finished

 dose). To start, FDA inspectors observed that Mylan’s Empower software logged hundreds of

 data failures and errors. Ex. 3 (2016 Form 483 for Nashik Facility (“2016 Mylan Nashik 483”))

 at 6-7. These errors included, “connection to chromatography system lost” and “instrument

 malfunctions.” Id. The failures were purportedly attributed to loss of power, loss of connectivity,

 and other associated errors. Id. Furthermore, because none of the data had been backed up to a

 redundant server, the chromatography data was apparently forever lost. Id. Even more damning,

 Mylan appeared to do absolutely nothing about the lost data. Id. (“No CAPA or investigation

 has been opened to address these incidents of ‘[p]ossible data corruptions or modification of

 file.’ Data was lost, as it was not captured in a backup system.”)

        As for Hetero and Aurobindo, the Indian entities continue to refuse to participate actively

 in discovery, so Plaintiffs have yet to have an opportunity to probe their manufacturing

 processes.

        Defendants argue that Plaintiffs are entitled to almost none of the above underlying

 facts. 4 Under Defendants’ interpretation of the relevant scope of the case, discovery regarding


 4
  The documents cited in Exs. 1-3 consist of FDA inspection documents obtained by Plaintiffs
 pursuant to FOIA requests, and/or that are publicly available on the internet as a result of FOIA
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 2008 so-called “ghost peaks” should be excluded because it is outside the “relevant time period”

 identified by the Defendants for discovery. To the extent a foreign market API customer returned

 batches of API because it did not meet specifications and was presenting with aberrant and

 unidentified peaks, Defendants inexplicably argue this information is not discoverable because it

 did not end up in any one plaintiff’s pill in the United States. Of course, all evidence of

 contamination is relevant. And finally, Defendants argue that discovery of the FDA’s

 observations in 2016 of altered valsartan testing, mounds of laboratory documents to be

 shredded, and data failures in the Chromatography software should be excluded because it did

 not directly pertain to manufacturing of the valsartan active ingredient itself.

          Defendants cannot be permitted to obfuscate and hide damaging discovery by baselessly

 resting on boilerplate relevance and proportionality objections, completely unsupported by fact

 or detail as to why the production would be burdensome or disproportionate under the Federal

 Rules.

 IV.      RESPONSE TO DEFENDANTS’ “MACRO” DISCOVERY ISSUES

             a. Foreign Regulatory Documents

          Defendants’ blanket attempt to shield all documents submitted to, or created by, foreign

 regulatory agencies should be rejected. Foreign regulatory discovery is critical here, where the

 manufacturers were in direct communication with these agencies regarding the issues at the heart

 of this litigation. Indeed, ultimately all of these agencies worked in concert to engineer a



 requests made by other individuals. These documents have been heavily redacted pursuant to the
 FDA’s public release of information, and much of the drug information has been excised.
 Plaintiffs are entitled to the full, unredacted versions of these documents, which are in the
 Defendants’ custody and control but have not been produced to Plaintiffs.
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 massive worldwide recall. To the extent relevant, all factual information exchanged with the

 foreign regulatory agencies should be produced.

        There is evidence to suggest that Defendants were utilizing different manufacturing

 processes for valsartan depending on the country. See MYLAN-MDL2875-00030355-408,

 PRINSTON0075683-96. Because of these varying processes, communications with foreign

 regulatory agencies regarding the recall (and the associated testing conducted), as well as the

 formal regulatory filings regarding the API manufacturing process, clearly bear upon

 Defendants’ notice, and the availability of an alternative feasible design to the manufacturing

 process. More fundamentally, inspection documents of the foreign facilities provide discovery

 regarding the Defendants’ overall compliance with cGMPs.           Plaintiffs should be afforded

 discovery5 of the communications with foreign regulatory agencies regarding the contamination,

 recalls, regulatory inspection documents, and formal foreign regulatory filings as to the valsartan

 API manufacturing process.

                    i. Communications with Foreign Regulatory Agencies Regarding the
                       Recall are Obviously Relevant and Proportionate

        Defendants argue that because they provided authority for all foreign regulatory agencies

 to exchange information, 6 this necessarily “ensur[ed] that the information conveyed to regulators

 [was] consistent across the board.” See Defs. Macro Ltr. at 8. First, Plaintiffs’ cannot rely on

 5
   Plaintiffs are willing to limit this discovery even further by narrowing the requests to a known
 list of foreign regulatory agencies, subject to a meet-and-confer with the Parties.
 6
    Defendants’ argument that the FDA requested access to other foreign regulatory agency
 submissions further supports Plaintiffs’ position that these documents are clearly relevant.
 Indeed, the FDA clearly believed having access to the other testing and process information
 provided to foreign regulatory bodies would elucidate the FDA’s own understanding of how the
 impurity formed in products that made their way into the US. Plaintiffs, and their experts,
 should be afforded this same opportunity.
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 Defendants’ self-serving representation that their admissions and communications with

 individual regulatory agents were “consistent” – Plaintiffs are entitled to probe these admissions

 and compare them to the information provided to the FDA. These admissions would include

 Defendants’ discussions with other foreign regulatory agencies regarding test results, their

 hypothesis as to the cause of the contamination, the extent of the contamination, and the health

 consequences of the contamination.

        Additionally, because there is evidence to suggest that Defendants were utilizing different

 manufacturing processes for valsartan in different countries, as set forth above, Plaintiffs must

 review the testing results of each distinct manufacturing process to understand how those

 changes impacted the levels of impurity, the impurity profiles, and the risk assessments of the

 processes. Indeed, if one manufacturing process for valsartan API destined for the US was

 showing suspicious unknown peaks, whereas a different process for valsartan API destined for

 elsewhere was not, that would be highly probative of a Defendant’s notice of a potential issue

 with the former.

                    i. Foreign Inspection       Reports     Document       Clearly   Discoverable
                       Underlying Facts

        Plaintiffs are entitled to discover evidence regarding Defendants’ compliance (or non-

 compliance) with cGMPs at their valsartan manufacturing facilities.          It defies logic that

 Defendants now attempt to argue that Plaintiffs are not entitled to discover foreign inspection

 reports, which document and memorialize an inspector’s contemporaneous and present sense

 impressions and/or observations of Defendants’ compliance (or non-compliance) with cGMPs.
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         In order to monitor overseas manufacturing, the FDA participates in a cost-sharing

  program with foreign governments (including Australia, Canada, Switzerland, Austria, the UK,

  Germany, Sweden, Denmark, Japan, Singapore and Italy) known as the Pharmaceutical

  Inspection Co-operation Scheme (“PIC/S”). 7 Regulators in these countries work together to

  inspect facilities pursuant to shared standards and have regularly scheduled meetings to discuss

  their shared views on compliance with cGMPs.            See Ex. 4, (FDACDER_0001171-77)

  (documenting a December 2015 PIC/S Meeting regarding data integrity guidelines to be used by

  industry, drafted in conjunction with officials at the FDA and officials from other foreign

  regulatory offices) (obtained by Plaintiffs pursuant to a FOIA request). Logically, it makes no

  difference whether the inspector who visited an overseas site was from Australia, Japan, the

  United Kingdom or the United States—the inspector would still have observed the

  manufacturing processes at issue and would be documenting their observations about

  Defendants’ compliance (or non-compliance) based upon the same cGMP standards each and

  every regulatory inspector for PIC/S countries assents to follow. Indeed, inspectors from the

  PIC/S participating countries attend group trainings, on issues such as how to inspect for data

  integrity issues with workshops providing practical examples on how to inspect, which further

  demonstrates their shared understanding of cGMP compliance. Ex. 5, (FDACDER_0001187-89)

  (Obtained pursuant to Plaintiffs’ FOIA Requests). 8 Taking Defendants’ position regarding



  7
    See “List of Participating PIC/S Countries,” https://www.picscheme.org/en/members (accessed
  Nov. 12, 2019).
  8
    That the foreign regulatory inspectors follow the same guidelines and principals regarding
  cGMPs completely undercuts Defendants’ argument that foreign regulatory documents are not
  relevant to the extent that the standards between the countries are different. With respect to
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  foreign regulatory inspection reports (and communications related to those inspections) to its

  logical end would mean that two documents could detail similar data integrity issues which occur

  at the same valsartan manufacturing facility in two different years, but because one of those

  documents was authored by an Italian, Plaintiffs would not receive it. Furthermore, production

  of these documents (which are no doubt kept in a centrally located repository in each

  Defendant’s regulatory affairs department) is a far more efficient outcome than requiring

  Plaintiffs to engage in protracted Letters Rogatory to obtain these obviously relevant facts.

                     ii. Foreign Regulatory Submissions Regarding API Manufacturing are
                         Relevant to Defendants’ Notice and Alternative Feasible
                         Manufacturing Process

         With respect to more formalized foreign regulatory submissions, even after the 2015

  amendments to Rule 26, courts have held that these foreign submissions are relevant to the issue

  of whether Defendants were on notice. In re Davol, Inc., No. 2:18-md-2846, 2019 WL 341909,

  at *2 (S.D. Ohio Jan. 28, 2019) (Ex. 16) (these materials are relevant “to the extent they contain

  information about what Defendants knew about the alleged risks associated with their . . .

  products, when they knew about those alleged risks, and whether those alleged risks were

  communicated to physicians and patients.”); Hodges v. Pfizer, Inc., No. 14-4855 ADM/TNL,

  2016 WL 1222229, at *3 (D. Minn. Mar. 28, 2016) (Ex. 17) (explaining that “there is no

  relevance-based reason to so limit discovery—notice of the risks of [an adverse effect] could

  conceivably originate from any country”); Adams v. Merck Sharp & Dohme Corp. (In re

  Incretin-Based Therapies Prods. Liab. Litig.), 721 F. App’x 580, 583 (9th Cir. 2017) (reversing,



  inspections and documentation regarding compliance with cGMPs, the standards are universal
  and consistent.
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  as an abuse of discretion, denial of plaintiffs’ motion to compel production of the defendants’

  foreign regulatory files). 9

          While Defendants argue for an abstract, unsupported finding of irrelevance, they concede

  that foreign regulatory evidence “might shed light the defendant’s notice or knowledge” [sic].

  See Defs. Macro Ltr at 8. However, attempting to frame the entire question of notice in a

  myopic light most favorable to them, Defendants cite to a single document that they assert

  constitutes a “mountain” of proof that they “had no notice or knowledge of nitrosamine

  contamination before the summer of 2018.” (Id.) However, this argument is fundamentally

  flawed. The question of when Defendants were on notice is not limited to when Defendants

  were on notice that their specific drugs contained NDMA. Rather, the question of Defendants’

  notice relates to multiple issues, for example when they were aware that their chromatography

  tests demonstrated unknown peaks, and aberrant testing results. Indeed, as discussed infra, an

  unknown peak investigated 10 by a customer of ZHP is the entire reason the contamination




  9
    Defendants’ frequent recitation of In re Bard IVC Filters is inapposite because, in that case, the
  plaintiffs were not seeking the foreign regulatory materials to prove notice. 317 F.R.D. 562, 566
  (D. Ariz. 2016). Defendants’ other cases primarily relate to the exclusion of evidence at trial and
  therefore have nothing to do with discovery disputes such as this one. See Davol, 2019 WL
  341909 at *3 (“Defendants’ argument that courts have often excluded evidence regarding foreign
  regulatory standards at trial is misplaced. Admissibility at trial does not determine relevancy for
  discovery purposes.”) (citations excluded).
  10
     For their part, ZHP admitted to FDA investigators that they had no written procedure to
  provide details on how to handle any type of abnormal, unknown, or unidentified peak. Ex. 1,
  2018 EIR at 17. This further supports Plaintiffs’ arguments as to the relevance of foreign
  inspection documents assessing the Defendants’ cGMP measures, of which quality assurance
  procedures regarding all aspects of manufacturing, including the testing of aberrant and unknown
  peaks, is one such part.
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  became known. 11     See §IV.b.1    This proves that the existence, source and nature of the

  contamination was knowable the entire time.

         Plaintiffs must know whether other foreign regulatory officials asked questions (and,

  most importantly, received answers) regarding any of the proposed manufacturing processes.

  These questions would include, for example, whether any valsartan products (or processes used

  to manufacture the products) were flagged or rejected at some point by a foreign regulatory

  agency because the product did not meet specifications or could not demonstrate that it had

  impurities that were below a certain threshold.

         Additionally, foreign regulatory documents regarding API manufacturing will likely

  detail processes which diverged from the process used for US drugs, and how. Further, going to

  the question of notice, to the extent any of these processes did or did not result in nitrosamine

  formation, also bears directly upon the question of the source of the contamination.




  11
     Defendants have repeatedly represented to the Court that testing to identify NDMA and NDEA
  only existed after the FDA innovated such a test. See Defs. Ltr. at 8 “Defendants had no notice
  or knowledge….before FDA developed novel testing methods to detect impurities at the levels
  observed in Defendants’ valsartan”); see, also, June 26, 2019, CMC Tr. at 28:25-29:5 (Mr.
  Trischler: “The FDA actually developed what it called an innovative test to check for NDMA
  and NDEA, conducted some testing, notified manufacturers, asked manufacturers to conduct
  testing.”) This is patently incorrect. ZHP’s API customer observed an unknown peak in its own
  chromatogram testing of the raw API. Ex. 1 at 20. The API customer sent the samples to a
  third-party laboratory because of the suspicious peak. Id. The third-party laboratory identified it
  as a genotoxic impurity. Id. The API customer then presented their findings to ZHP, informing
  ZHP that the observed unknown peaks constituted “a genotoxic impurity.” Id.
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             b. Foreign Sales and Marketing Materials

                      i. Foreign Sales of API Are Relevant to Notice

         The Parties are before the Court, litigating this case, because an API customer of ZHP’s

  noticed something was aberrant with ZHP’s product. Ex. 1, (2018 ZHP EIR) at 7 (finding

  that a ZHP customer “identified a small unknown peak during residual solvent testing using a

  GC-FID”). This customer, alarmed by the presence of an unknown and unidentified peak,

  independently sent a sample of ZHP’s API to a third-party laboratory, that then identified the

  unknown peak as NDMA. Id. Had this API customer not independently tested ZHP’s API, all

  Defendants might still be selling their product, and all Plaintiffs might still be paying for and

  consuming pills tainted with carcinogens.

         However, the above API customer was not the only API customer who noticed issues

  with Defendants’ API product. Based on the limited discovery to date, it is clear that at least as

  to Defendant ZHP, several other customers had aberrant OOS results when testing ZHP’s API

  product. Ex. 1, (2018 ZHP EIR) at 8 (the FDA notes that from 2016 to 2018 there were 22

  batches of API which were rejected and/or returned by customers). Between January 22, 2016 to

  June 29, 2017 there were 17 Out-of-Specification (“OOS”) investigations into a single batch of

  valsartan API which did not result in any conclusory findings. Id. at 29. In 2018, it would turn

  out this batch was actually contaminated with a genotoxic impurity. Id. Other ZHP customers

  returned valsartan API showing similar OOS findings on September 13, 2016. Id. at 46. Rather

  than investigate the API that a customer found unmerchantable, ZHP instead reprocessed the

  batch and sent it to other customers. Id. at 47.
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         Nevertheless, Defendants wish to arbitrarily limit discovery as to these key

  communications regarding API sales to only those customers who purchased API for finished

  dose products intended for the US Markets with approved ANDAs. First, this would necessarily

  limit discovery regarding API sales and marketing to only the Defendants in this litigation who

  obviously did not become aware of the contamination until the recall. Defendants purposefully

  do not mention this.12 Second, this would preclude Plaintiffs from discovering information

  about whether other customers purchasing valsartan API (including US customers with

  unapproved or tentatively approved ANDAs, as well as foreign customers) were returning

  product or lodging complaints about unknown and unidentified peaks. It is entirely possible

  another customer, understanding the chemistry of the tetrazole ring formation process,

  additionally identified an unknown peak as possibly being a nitrosamine 13 and reported it to a

  Defendant. Indeed, as discussed infra ZHP had a customer who requested a specific process

  which did not result in nitrosamine contamination. See § IV(f)(ii).

         Also as set forth above, there is evidence that Defendants were manufacturing different

  API using different processes, for different foreign markets. See MYLAN-MDL2875-00030355-


  12
     Putting aside ZHP, as to the other non-API Manufacturers in this case (Mylan, Aurobindo and
  Hetero), by limiting API sales discovery only to their US customers, discovery would only entail
  their own vertically integrated finished dose manufacturing entities (with exception of the brief
  period of time Mylan sold API to Teva). And yet, Defendant Mylan refuses to produce any
  discovery whatsoever regarding their finished dose entities. See infra at § IV.c.i. This puts
  Plaintiffs in an untenable position.
  13
     As soon as a customer presented ZHP with the information that their valsartan API had tested
  positive for NDMA, ZHP immediately knew what step in the process had created the NDMA
  and was so confident in this assessment that it did not even conduct subsequent tests to verify
  their hypothesis. Ex. 1, (2018 ZHP EIR) at 7 (ZHP telling an FDA inspector that it did not do
  subsequent test of their hypothesis because “everyone retrospectively agree[d]” about how it was
  formed.)
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  408, PRINSTON0075683-96. Such information also informs Defendants’ constructive or actual

  knowledge that the manufacturing processes that resulted in the nitrosamine contamination were

  inadequate. Additionally, to the extent these country-specific processes involved more steps or

  different solvents to ensure fewer impurities, Plaintiffs are entitled to know how much it cost

  Defendants to make these API, and how much they sold these API for, as compared to what

  occurred with the API destined for the United States. This information is critically important for

  an assessment of economic damages, especially to the extent Plaintiffs seek disgorgement of

  profits. 14

                c. Finished Dose Manufacturing

          As set forth in Plaintiffs’ November 5, 2019 opening letter brief on macro discovery

  issues, Plaintiffs are clearly entitled to discovery not only of Defendants’ valsartan API

  manufacturing facilities, but also of downstream finished dose, bottling, and labeling facilities.

  See D.E. 289 (Plaintiffs’ Macro Letter Brief (“Pls. Macro Ltr.”)) at 6-15. All such downstream

  facilities are subject to cGMP obligations. Indeed, as described above, it was a finished dose

  facility that identified the nitrosamine contamination in ZHP’s valsartan pursuant to routine

  testing and quality assurance functioning as required by FDA regulations.

          Recognizing the speciousness of their initial “API only” position, Defendants now

  concede that the only discovery that should be permitted into the finished dose manufacturing is

  “to the extent finished dose manufacturers conducted testing on the API at issue ….” (Defs.



  14
    And the profits, were, indeed, significant. ZHP itself admitted that changes and shortcuts it
  made to its manufacturing process was to “save money” and that doing so allowed ZHP to
  “dominate the world market share.” Ex. 1, (2018 ZHP EIR) at 25.
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  Macro Ltr. at 12 (emphasis added).) 15 Defendants’ explicit admission emphasized above appears

  to concede that certain finished dose facilities may not have conducted testing. This is a case in

  point why broader discovery of these Defendants and their facilities is absolutely necessary.

                      i. Discovery regarding cGMP Compliance and Inspections

         Under federal law (The Drug Supply Chain Security Act (“DSCSA”), 21 U.S.C. § 353 et

  seq.) and federal regulations (21 CFR Parts 210 and 211), all entities in the manufacturing chain

  of distribution have an obligation to comply with cGMPs concerning quality issues “impacting

  on the identity and purity of the product” and to have adequate quality controls with respect to

  “the testing and approval or rejection of….drug products[.]” See also 21 CFR § 211.22. The

  finished dose manufacturers 16 are undisputedly bound by the DSCSA and cGMP regulations. As

  explained by the FDA itself, cGMPs provide for systems that assure proper design, monitoring,

  and control of the manufacturing processes and facilities. Adherence to the cGMP regulations

  assures the identity strength, quality and purity of drug products by requiring that manufacturers

  of medications adequately control manufacturing operations.




  15
     To the extent it is not abundantly clear, Plaintiffs are entitled to any and all communications
  occurring between Finished Dose Manufacturer Defendants and those entities from whom they
  obtained valsartan API regarding the API, as well as any testing, contamination and health risks
  associated with that API product. Defendants’ position appears carefully crafted to exclude these
  communications. The Court should require Finished Dose Manufacturers (including those API
  manufacturers with Finished Dose Facilities) to produce all relevant communications between
  the Manufacturer and the entity from whom it purchased API.
  16
     Plaintiffs include in their description of finished dose manufacturers those finished dose
  manufacturers who are also associated with an API manufacturer. Separate and independent
  obligations attach at each step. Simply because a finished dose manufacturer may procure API
  from an affiliated and/or vertically integrated facility does not absolve it of its legal requirements
  to ensure their products are safe, effective, and uncontaminated.
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         The discovery obtained to date combined with Defendants’ own admissions strongly

  suggest rampant disregard of the very cGMPs designed to ensure quality control of the products

  passing through Defendants’ finished dose facilities. Defendants’ documented disregard of

  cGMPs at the finished dose level is highly relevant to establishing Defendants’ actual or

  constructive knowledge, to establishing recklessness and violation of federal laws for negligence

  per se, establishing the right to recover punitive damages, for the creation of potential adverse

  inferences against certain defendants for efforts to falsely suggest compliance with cGMPs, and

  myriad other aspects of proof in this litigation. Plaintiffs are thus entitled to broad discovery

  regarding the finished dose manufacturers’ overall compliance with cGMPs at these facilities.

  API Manufacturers, notably ZHP and Mylan, have refused to produce these documents (both in

  core discovery, and during meet-and-confers, arguing, in blanket fashion, that any discovery

  outside the API step that supposedly caused the contamination “exceeds the scope of discovery

  permitted under the Federal Rules of Civil Procedure.”) See Mylan Response to RFPDs attached

  to Pls. Macro Ltr. at Ex. 2.       Of course, to the extent the contamination predated the

  manufacturing process modification, Defendants’ entire narrative is subject to question.

         By admitting that finished dose API testing is relevant, Defendants necessarily admit that

  compliance with cGMPs is also relevant. Indeed, cGMPs are devised, implemented, promulgated

  and enforced because these best practices provide the best protection against adulterated products

  entering the market. 17 They are also designed to impose accountability in the unfortunate case


  17
     For example, with respect to API procurement, industry best practices dictate that finished
  dose manufacturers should have their Quality Assurance team “perform offsite or onsite audit
  activity” including an evaluation of the API factory quality systems, deviations, CAPA, recalls,
  warning letters, reprocessing batches, annual reports…OOS, OOT[.]” Ex. 6, Article from the
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  when such products do reach consumers. These cGMPs require the implementation of quality

  assurance departments to fully investigate and analyze every aberrant test result. 21 CFR §

  211.22 et seq. These cGMPs also require manufacturers to conduct due diligence into the entities

  from whom they source API, regardless of whether the API comes from a vertically integrated

  associated entity.

         It is apparent that some finished dose manufacturer was able to determine there was

  something wrong with the adulterated API it was purchasing, because one such finished dose

  manufacturer actually uncovered the adulteration which has spawned this lawsuit. See Ex. 1,

  (2018 ZHP EIR) at 7. What differentiates this customer from the Finished Dose Manufacturers in

  this case, who did not discover the API they were using in their finished dose product was

  adulterated with a genotoxic impurity? The answer likely lies in cGMP compliance – or lack

  thereof.

         No Defendant has argued more forcefully for the irrelevance of finished dose

  manufacturing cGMP compliance (or non-compliance) than Defendant Mylan. However, newly

  obtained publicly available inspection documents regarding some of the most recent inspections

  of the valsartan finished dose facilities lays bare the truth. 18 Furthermore, not only were the

  inspections relevant to valsartan by the explicit mention of valsartan in limited unredacted




  Pharmaceutica Analytica Acta (authored by, among others, an employee for Defendant Hetero
  Labs). Plaintiffs are entitled to know which, if any, of these quality assurance activities Finished
  Dose Manufacturers conducted.
  18
     Because Plaintiffs received these FDA documents from a publicly available source, large
  portions of the documents, including the multitude of pages wherein the FDA discusses the
  rampant shredding of documents, have been redacted.
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  portions of the Form 483(s), but they document a repeated pattern of data manipulation,

  document destruction, test alteration and obfuscation.

         For example, in 2016, an FDA inspector found that employees in the quality control

  laboratory at Mylan’s Morgantown, WV finished dose manufacturing facility were altering

  sample sets “for significant changes.” Ex. 2 (2016 Mylan Morgantown 483) at 6. This included

  altering the parameters of a valsartan HCTZ sample, including the dilution factor, sample ID,

  test ID, sample name, composite weight, and sample weight. Id. The inspector also observed

  that the Quality Unit maintained shredding bins in the Quality Control unit, the Quality

  Assurance unit, and the manufacturing areas, and these bins were found to contain laboratory

  records. 19 Id. Were this not enough, the inspector likewise found that raw APIs were being

  analyzed using “non-validated and non-verified analytical methods.” Id.

         With respect to chromatography testing (which Defendants themselves concede is a

  critically important test to this litigation), the FDA found that Mylan’s software, Empower, was

  riddled with data failures, power failures, loss of connectivity and repeated and recurring errors,

  suggestive of rampant data manipulation. See Ex. 3, (2016 Mylan Nashik EIR) at 7 (errors with

  Empower included, “connection to chromatography system lost”). The FDA inspector noted

  “150 messages indicating “possible data corruption or modification of file” affecting 12

  sequences, and that “data was lost, as it was not captured in the back-up system.” Id. The FDA

  inspector further noted that Mylan did not open an investigation into these data failures. Id.


  19
     In the publicly available version of the 483 obtained by Plaintiffs the entirety of the two-page
  list of Quality Assurance documents which were to be shredded was redacted, so Plaintiffs do
  not know if this list relates to valsartan. Defendant Mylan is the only entity who can provide
  Plaintiffs with unredacted versions of these documents.
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  Because Plaintiffs received these FDA documents from a publicly available source, many of the

  drug names (with the exception of one reference to valsartan HCTZ) have been redacted.

          Plaintiffs are entitled to unredacted versions of these documents to understand cGMP

  compliance at finished dose manufacturing facilities. As such, Plaintiffs ask this Court for a

  clear and unequivocal order compelling Defendants Mylan and ZHP to produce inspection

  documents 20 related to the facilities that manufacture the finished dose versions of their

  products. 21

                     ii. Discovery regarding OOS results, deviation reports, and complaints

          Defendants have effectively conceded that finished dose manufacturing testing results

  and other reports of quality issues at these facilities are relevant and must be produced, yet still

  refuse to produce them. See Defs. Macro Ltr. at 12. The Court should resolve Defendants’

  contradictory positions by compelling such discovery here. Complaints regarding the quality of

  both API and finished dose product are also highly relevant because, again, such complaints are

  20
     The three facilities Mylan uses to manufacture finished dose of valsartan have been inspected
  an astounding 17 times since the drugs came on the market and 14 of those inspections
  warranted a written finding of non-compliance. ZHP’s finished dose facility has likewise been
  inspected 7 times since 2012, warranting 4 written findings of non-compliance. Defendants
  Mylan and ZHP have produced none of these documents.
  21
     The API manufacturers’ unjustified position that finished-dose manufacturing is not relevant
  must be remedied immediately. The selection of ESI custodians cannot be complete until
  Plaintiffs have an understanding of the possible custodians involved in these procurement and
  quality assurance capacities. Mylan and ZHP have refused to even provide organizational charts
  related to finished dose manufacturing. Plaintiffs asked for this information hoping it could
  negotiate these possible ESI custodians prior to the Court’s ruling on this issue. Ex. 15,
  (requesting production of organizational charts for finished dose facilities to allow the Parties to
  “agree upon these custodians now and ensure that there are no additional delays in December
  when the Court clarifies the contours of discovery.”) Defendants did not comply with this
  request. Defendants’ obstinance (especially in the face of the other finished dose manufacturers’
  compliance) raises the likelihood that Defendants are engaging in gamesmanship solely to avoid
  turning over damaging documents.
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  suggestive of actual or constructive notice of the contamination and (at least some) Defendants’

  efforts to simply re-sell contaminated product that had been returned.

                    iii. Discovery Regarding Bioequivalence

         In making the argument that they should be required to produce only one type of testing,

  (including stability testing), Defendants explicitly reserve the right to rely upon their

  bioequivalence testing submitted to the FDA regarding stability. See Defs. Macro Ltr. at 15.

  However, Defendants would deny Plaintiffs the opportunity to test the validity of that

  bioequivalence testing, or to analyze the underlying documentation in support of the testing

  located in the ANDA submission. Of course, bioequivalence testing is central and should all be

  produced.

         The overall “sameness” of Defendants’ valsartan products to the RLDs is highly relevant.

  For example, the Master Economic Loss complaint alleges that Defendants each breached a

  “duty of sameness” with regard to their valsartan products. The bioequivalence of Defendants’

  VCDs to their respective RLDs is also informative to Defendants’ actual or constructive

  knowledge of quality control issues with regard to their products. This is especially so for Teva,

  and Mylan 22 who used vendors during the ordinary course of their business to conduct

  bioequivalence studies that were subsequently found to have fabricated bioequivalence data in

  support of ANDA applications. 23 The Court should compel Defendants to produce extensive

  bioequivalence discovery to Plaintiffs.



  22
     https://www.bloomberg.com/news/articles/2016-07-22/flawed-indian-studies-spur-eu-
  regulator-to-back-drug-suspensions.
  23
     https://www.fda.gov/media/97424/download.
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             d. Testing and NDMA and NDEA Impurities

                     i. Testing

         Despite having only produced a small subsection of limited core discovery documents,

  Defendants proclaim that the only testing relevant to this litigation is chromatography, and

  should only be limited to the tests related to the identification of NDMA and NDEA impurity

  (HPLC and GC). 24 While Plaintiffs do not likely need every type of test ever performed at every

  stage of the valsartan manufacturing process, at this point in time, Plaintiffs simply do not have

  enough information to limit or narrow testing requests in the manner Defendants suggest.

  Indeed, Plaintiffs informed Defendants of this during a meet-and-confer regarding their

  manufacturing and testing RFPDs.

         In order to try to bridge this gap, Plaintiffs requested a list of all tests performed, and an

  exemplar of the results of each test, so that Plaintiffs could assess the universe of testing and

  focus on the tests most likely to yield significant data. Defendants have not agreed. Plaintiffs

  have also asked to see the internal company documents (including lists of OOS findings on tests,

  deviation reports, and complaints) that were provided to the FDA in the course of the inspections

  regarding this adulteration to help focus these requests. The fact that all Defendants are resisting

  production of directly relevant testing information sharply illustrates that the defense strategy is

  being applied across the board.




  24
     It is ironic that Defendants are so confident in their claim that chromatography is the only
  relevant testing, when in every other area related to manufacturing, Defendants have asked
  Plaintiffs to explain to Defendants how Defendants keep their files, including asking Plaintiffs to
  provide Defendants with a list of their own internal company files.
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                     ii. Other Impurities

         Defendants appear poised to argue that discovery regarding other impurities (including,

  but not limited to, other genotoxic carcinogens) is not relevant because it is not the specific

  genotoxic impurity at issue in this case. To the extent Defendants are arguing that they should

  not be required to turn over evidence of other carcinogenic impurities, that argument is without

  merit, and has been addressed in Plaintiffs’ opening papers. See Pls. Macro Ltr. at 20.

         Furthermore, Plaintiffs will not blindly agree to any limitation excluding testing

  regarding residual solvents present in the valsartan API. Given the nature of the process, it may

  be possible that an early harbinger of an issue with the chemistry of the manufacturing process

  was the presence of excess residual solvent.         Until Defendants provide Plaintiffs with an

  expedited production of internal documents (such as the documents provided to the FDA during

  their inspections of the facilities, which should have been provided with core discovery but was

  not), Plaintiffs cannot arrive at a position as to what other testing may be relevant.

             e. Plaintiffs are Entitled to Discovery Regarding Health Issues Beyond Just
                Those Alleged in their Complaints

         Fed. R. Civ. P. 26(b)(1) provides, “Parties may obtain discovery regarding any

  nonprivileged matter that is relevant to any party's claim or defense…” In negotiating the

  personal injury Plaintiff Fact Sheet (“PFS”), Defendants demonstrated that one of their strategies

  for defending specific causation in this MDL was to conduct discovery into each Plaintiff’s

  medical history. In doing so, Defendants requested a swath of information, including on a

  number of medical conditions that they will presumably claim could have contributed to a

  specific plaintiff’s cancer. See PFS, § V. For this reason, to the extent Defendants have received
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  reports, conducted studies, inquiries, or investigations that shed light on the health risks posed by

  the contamination, and the relevance of these other conditions included in the PFS as they relate

  to valsartan, any injury alleged by any plaintiff in this MDL, and/or any of the contaminants in

  this litigation, Plaintiffs should be entitled to discovery regarding this information.

         In conjunction with this, to the extent any of the conditions asked about by Defendants in

  the Plaintiffs Fact Sheet are indicative of early signs of cancer, this is all the more reason for

  Defendants to provide information relating to these conditions during discovery, as this

  information—whenever it was received—also should have placed Defendants on notice that

  many of their consumers were exhibiting early signs of cancers while taking their drugs.

                      i. Plaintiffs’ Discovery Requests are Narrowly Tailored in that they are
                         already Confined to both the Products at Issue in this MDL, as well as
                         the Contaminants at Issue

         Each discovery request cited by Defendants in Section 5 of their brief is already confined

  to the relevant issues being litigated in this MDL: valsartan, the contaminants at issue, and the

  adverse health effects associated with them. In listing all the allegedly applicable Requests for

  Production, Defendants failed to find any which did not already contain these limiters.

  Therefore, any concerns Defendants expressed about Plaintiffs allegedly attempting to develop

  new claims or straying beyond the scope of the litigation (see Defs. Macro Ltr. at 18) are

  unfounded.

         Furthermore, with regard to the requests pertaining to studies or investigations,

  Defendants, as manufacturers of generic drugs, have repeatedly emphasized that they have far

  fewer investigation and study obligations than manufacturers of brand name drugs have. In light

  of this and the fact that these requests are already confined to the products, contaminants, and
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  issues in the above-captioned MDL, these requests fall squarely within the contemplated

  confines of Rule 26 and the scope of discovery here.

                     ii. Evidence of Other Injuries Stemming from Contamination Goes to
                         the Issues of Notice and General Negligence

         Discovery into other health effects caused either by valsartan and/or the contaminants at

  issue in this MDL is relevant to the issue of notice. Defendants’ attempt to limit discovery to

  only those cancers which have presently been alleged by Plaintiffs represents a misconstruction

  of the Federal Rules of Civil Procedure, as well as an ignorance of the bigger picture.

         Defendants themselves admit that the contamination issue stemmed from issues with the

  manufacturing process that went allegedly undetected for years. See Defs. Macro Ltr. at 4.

  However, to the extent Defendants contend that they did not and could not have known of the

  presence of nitrosamines and other contaminants in their raw API or in the finished doses they

  produced, any reports made to them, investigations conducted (or not conducted), studies, or

  inquiries relating to other adverse health effects caused by their drugs should have placed

  Defendants on notice that they had larger problems with their products.

             f. Discovery Should Commence on a Date Prior to the Defendants’ First
                Regulatory Filing

         Logically, Plaintiffs ask this Court to allow for discovery commencing on a date prior to

  Defendants’ first regulatory filing (be it an Abbreviated New Drug Application (“ANDA”) or

  Drug Master File (“DMF”)) with the FDA. The most logical date is the date on which the

  defendant in question began to develop the manufacturing process for valsartan, as creation of

  the process must have implicated all aspects of the process, the solvents to be used, and the

  quality assurance analysis of potential risks.
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                     i. Defendants Began Preparing to Launch their Valsartan Drugs Almost
                        Two Decades Ago

         On June 18, 1997, Novartis Pharmaceuticals filed a patent for valsartan. Ex. 14, (Novartis

  Valsartan Patent). This drug molecule, which would later go on to be sold by Novartis under the

  brand names Diovan and Exforge, resulted in a billion-dollar market.           Understanding the

  importance of filing an ANDA application for generic versions of these two drugs, with a

  specific eye to becoming the first company to file a substantially complete generic ANDA,

  generic manufacturers (including Defendants), began the process of developing not only the

  formulation of the finished dose of the drug, but the chemical synthesis of the active

  pharmaceutical ingredient, as soon as they could.

         In order to prepare the regulatory documentation required by the FDA to seek approval

  (be it tentative, or otherwise) of their products, Defendants, very early on, began engaging in

  concerted research and development activities necessary to have the science in place prior to

  these FDA submissions. Evidence of these research and development activities, which occurred

  in the early 2000s, include filing patents covering their own methodologies for the synthesis of

  valsartan in the United States and abroad. 25 As part of these research and development activities,

  Defendants would have been deliberating on the choice of solvent, the choice of catalyst, the

  risk-benefit profiles associated with these selections, researching the process patented by




  25
    Defendants in this litigation began filing patents to cover the synthesis of the valsartan active
  ingredient beginning as early as 2004. See Ex. 7, Teva’s April 21, 2004 Patent Application.
  Other Defendants followed suit, including Aurobindo, Ex. 8, (who filed an application on June
  29, 2007), and Mylan, Ex. 9 (whose predecessor Matrix Labs filed an application on June 26,
  2008).
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  Novartis, assessing the cost of manufacture associated with the processes, and conducting lab-

  scale manufacturing and testing of a variety of processes.

          Nevertheless, Defendants argue that discovery should be limited to a much narrower time

  period, beginning either when their drug actually launched onto the US markets (or, in the case

  of Defendant ZHP, when they made their final change to their manufacturing process). By so

  narrowly focusing the scope in this manner, Plaintiffs would be completely deprived of

  understanding the development of the manufacturing process, starting from first conception of

  the process, through all the permutations of the process, including the lab scale results of these

  permutations and modifications with any associated risk assessments.          Discovery into the

  entirety of the process strikes directly at the heart of the question as to whether Defendants were

  on notice that their manufacturing changes were significantly and materially impacting the

  impurity profile of the molecule, and whether they conducted the necessary and required risk

  assessments into these changes. Any earlier risk assessments would likewise inform upon

  whether any later risk assessments conducted by Defendants were sufficient.

          Also, it is likely that few documents dating back to when each Defendant first developed

  its manufacturing process still exist, given their vintage.      This would sharply reduce the

  purported burden for Defendants, if any.

                    ii. ZHP

          Discovery regarding Defendant ZHP should commence on a date prior to September 26,

  2007.    In September of 2007, ZHP filed its first DMF application to the FDA for a

  manufacturing process for valsartan API, which would later go on to be known as DMF No.

  020939, or Process I. See PRINSTON00078567. After filing this first DMF to the FDA, on
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  January 1, 2010, ZHP filed a second application to the FDA for a second process for the

  manufacture of Valsartan under DMF No. 23491, which would be known as Process II. See

  PRINSTON00073120. According to ZHP, Process II would later go on to be the process which

  resulted in the formation of NDMA and NDEA, while the earlier process (Process I) did not

  create nitrosamines. Ex. 1, (2018 ZHP EIR) at 8. If the Court were to adopt ZHP’s position that

  discovery as to manufacturing should only commence upon the date of the last 2011

  manufacturing change, Plaintiffs would not only be denied the opportunity to understand the

  research and development which occurred prior of both DMFs but would also be denied the

  opportunity to probe the deliberative process conducted by ZHP in determining why to change

  from Process I (which did not have potential to form nitrosamines) to the process that resulted in

  nitrosamines. This obviously relevant discovery would include: what risk assessments were

  conducted in contemplating this change, whether this change resulted in a materially different

  impurity profile, why the company decided to file an entirely new submission to the FDA

  regarding the changes that occurred between Process I and Process II, and what were the

  justifications and motivations for changing the initially filed (non-nitrosamine forming)

  process. 26 Furthermore, evidence suggests there were actually finished dose manufacturers who

  selected the first (non-nitrosamine forming) process instead of the subsequent (nitrosamine

  forming) process.    See Ex. 1 (2018 ZHP EIR) at 19 (“Process I was a customer specific

  process”). Plaintiffs are entitled to know why this customer opted for Process I.


  26
    Indeed, during an inspection with the FDA in 2018 as a result of the contamination, ZHP’s
  Executive Vice President, Mr. Jun Du, admitted to FDA officials that ZHP’s motivation for
  making manufacturing changes to its valsartan API manufacturing process was “to save
  money.” Ex. 1, (2018 ZHP EIR) at 25.
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                    iii. Mylan

         Discovery regarding Defendant Mylan should commence on a date prior to August 16,

  2006. On this date, Defendant Mylan filed its first ANDA application to the FDA for the

  finished dose formulation of valsartan. See MYLAN-MDL2875-00006228. Plaintiffs should be

  afforded the opportunity to discover the entire development of the manufacturing process,

  including how Mylan selected the API it planned to use in that 2006 submission, and any quality

  assurance due diligence conducted in selecting that API. Further, Plaintiffs are also entitled to

  discover Mylan’s quality assurance functions prior to drug launch as they relate to procurement

  of materials used in the manufacture of valsartan API. Indeed, in a Warning Letter sent by the

  FDA a mere 13 days ago, the FDA documented a litany of compliance issues with Mylan’s

  procurement and use of solvents in their API manufacturing.          Ex. 10 (November 5, 2019

  Warning Letter). At issue for the FDA was Mylan’s grossly inadequate quality assurance

  functions related to processes implemented to recover solvents, the due diligence used when

  selecting specific vendors to procure recovered solvents, and the storage facilities used for those

  recovered solvents. Id. If the Court were to accept Mylan’s position that discovery is only

  appropriate as of the date the drug launched on the US markets, Plaintiffs would be denied

  discovery regarding all of the necessary preparations made in order to have those sufficient

  quantities of finished dose product stocked and on shelves in pharmacies by the launch date –

  including the development and implementation process followed by each entity to get to the

  manufacturing starting point. It would also deny Plaintiffs the opportunity to probe, more

  critically, what internal risk assessments were conducted regarding the use of recovered solvents

  and the solvent recovery processes, whether recovered solvents were used in batch testing that
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  was submitted to the FDA in support of their regulatory filings (and, to the extent batch testing

  was conducted using only fresh solvents, why that was the case), and whether Mylan conducted

  the appropriate due diligence in selecting vendors for raw materials and recovered solvents.

                    iv. Teva

         Discovery regarding Defendant Teva should commence at some time prior to January 7,

  2005. This is the day that Teva filed a substantially complete ANDA application with the FDA.

  Ex. 11, (Letter from Teva GC filed in support of a Citizen’s Petition regarding Valsartan).

  Indeed, compared to the other Finished Dose Manufacturer Defendants in this case, Teva

  presents an interesting wrinkle insomuch as it appears Teva was contemplating manufacturing its

  own valsartan API as early as 2006. See Ex. 7, (Teva Patent). Were this not enough, Teva’s

  status as the second ANDA filer after the first-filer (Ranbaxy Laboratories) provided Teva with

  incentive to continually conduct research and development in preparation that it might launch

  onto the market as soon as practicable. Teva went so far as to argue that Ranbaxy should be

  denied its first-filer status because of their “inadequate control measures for insuring the integrity

  of data.” Ex. 11 at 3. Plaintiffs should be afforded the opportunity to probe Teva’s actual or

  constructive knowledge on the potential formation of impurities (including nitrosamine

  impurities), which can be accomplished by understanding what process Teva was contemplating

  for its own API manufacture, and what impurities it believed could form as a result of that

  process. Plaintiffs should also be allowed to discover information regarding Teva’s investigation

  into Ranbaxy’s data integrity issues and use of tainted data, which it discussed at length in its

  filing to the FDA. Id.
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         Furthermore, Teva first obtained Valsartan API from Mylan, before switching to

  Defendant ZHP. Ex. 12 (TEVA-MDL2875-00004075). However, contemporaneous with these

  decisions regarding API sourcing, in 2013, Teva’s President and CEO made comments while

  participating in the European Association of Pharmaceutical Full-line Wholesalers conference

  that the prices charged by Indian and Chinese drug companies for the products demonstrated that

  these manufacturers were “cutting corners” and consumers would never “sit on a plane if [they]

  thought the parts were coming from a dodgy factory somewhere … [s]o why do we accept this

  for medicines?” Ex. 13 (Article from Business Standard). Plaintiffs are entitled to discovery as

  to what due diligence Teva conducted when a) declining to manufacture their own API, b)

  determining from whom they might purchase valsartan API c) deciding to purchase valsartan

  API from Defendant Mylan, and d) the quality assurance controls in place which guided how to

  make these decisions. Much of this activity occurred well before Teva’s proposed date of

  January 1, 2013.

                     v. Torrent

         Discovery regarding Defendant Torrent should date back to some time prior to June 29,

  2009. This is the day that Torrent filed an ANDA application with the FDA. See TORRENT-

  MDL2875-00002226. Prior to obtaining API from ZHP, Torrent had obtained API from another

  company. See TORRENT-MDL2875-00002095. If discovery is arbitrarily limited to the date

  their product actually launched on the market, Plaintiffs will be denied all the discovery

  regarding why they decided to switch to ZHP for procurement of valsartan API, what due

  diligence they did in deciding to purchase valsartan API from ZHP (including any on-site or

  offsite visits of the facility, any review of OOS and deviation reports, and the like) and any
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  testing of valsartan API samples. All of this activity occurred well before the date the drug

  product was actually in the United States market.

                    vi. AuroLife

          Because Plaintiffs have yet to receive discovery regarding Aurobindo Ltd. (the Indian

  Entity who continues to be unrepresented in this litigation), Plaintiffs do not know the date on

  which the Indian entity filed its DMF for Valsartan API. Plaintiffs’ default position is that

  discovery as to all of these entities should begin at some time prior to the filing of the API DMF

  was filed, when the manufacturing process began to be developed. However, in the absence of

  that information, and at the very latest date, Discovery regarding AuroLife and Aurobindo USA

  (as finished dose manufacturers) should begin at some time prior to June 19, 2010. This is the

  date by which the US entities submitted their ANDA submission to the FDA.

                     i. Hetero and Camber

       Defendants’ brief does not even mention proposed start dates for Hetero and Camber.

  Consistent with the above, the discovery start dates for these Defendants should also be when

  each of the Hetero Labs Ltd., and Hetero Drugs 27 began to develop their manufacturing

  processes.




  27
     Two of the four API manufacturers (Hetero Drugs d/b/a Hetero Labs Ltd., and Aurobindo
  Pharma) are not yet actively participating in this litigation because they contend they are separate
  entities and have demanded Plaintiffs serve them via Hague Convention proceedings. Because
  of this schism within the Defendant Groups, Plaintiffs request that the Court issue a ruling that is
  also applicable to these entities, finding that whatever ruling the Court issues related to the
  Macro discovery issues is equally applicable as to these entities when they formally enter the
  case.
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   V.    CONCLUSION
         For the foregoing reasons, Plaintiffs request that the Court deny Defendants’ motions,

  and compel Defendants to produce the full scope of requested discovery.



                                       Respectfully,



                                       ADAM M. SLATER


  AMS/lat
